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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA
                    Plaintiff,          CRIMINAL NO. 16-20239-JEL-APP
                                        HON. JUDITH E. LEVY
                                        U.S. MAG. JUDGE ANTHONY P. PATTI

v.
D-5 THOMAS S. DOUGHERTY
                    Defendant
_______________________________/


             ORDER DENYING REQUEST FOR INSANITY DEFENSE
                 EXAMINATION UNDER 18 U.S.C. 4242
      Defendant appeared before me in duty court for what was supposed to be a

detention hearing and a completion of arraignment on June 16, 2016. At that time,

his counsel made an oral motion to determine competency and reported to the

Court that he had reasonable cause to believe, based upon the defendant’s prior

mental health history and their interaction in the holding cells, that the defendant

may be mentally incompetent to understand the charges or to assist in his defense.

Defendant’s counsel therefore asked for what he termed a “competency/criminal

responsibility” exam. Counsel for the United States responded on the record that,

“We have no objection.” After further inquiry from the bench, the Court found,

pursuant to 18 U.S.C. 4241(a), that, “There is reasonable cause to believe that
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Defendant may presently be suffering from a mental disease or defect rendering

him mentally incompetent to the extent that he is unable to understand the nature

and consequences of the proceedings against him or to assist properly in his

defense.” Accordingly, as mandated by the statute, the Court ordered a

competency exam from the bench, and directed counsel to submit an order to that

effect for entry.


      Subsequently, both counsel submitted a stipulation and order for a

competency examination, pursuant to section 4241; however, they simultaneously,

and without prior explanation, also submitted a proposed stipulation and order for a

pretrial psychiatric or psychological examination to determine the existence of

insanity at the time of the crime, pursuant to section 4242, a copy of which is

attached hereto. The Court held a telephone conference with both counsel on June

28, 2016, in order to query why a second order had been submitted pursuant to

section 4242 and in order to discuss whether either or both orders would be

submitted by stipulation or “approved [by counsel] as to form only.” During the

conference call, the Court confirmed that the defendant’s counsel has not

“notif[ied] an attorney for the government in writing” of his intention “to assert a

defense of insanity at the time of the alleged offense,” as required by Federal Rule

of Criminal Procedure 12.2(a). Moreover, at no time has the Government filed a

motion for pretrial psychiatric or psychological examination to determine the
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existence of insanity at the time of the offense, as required by section 4242.1

Indeed, Defendant’s counsel confirmed during the conference call that, at this early

stage in the proceedings, he is presently unsure as to whether a good faith basis

exists for pursuing such a defense or whether one will be merited in the future.

Nevertheless, through the submission of the aforementioned and attached

stipulation, both counsel have indicated that an examination under section 4242

should be conducted simultaneously with the competency examination under

section 4241, and have represented that this is justified by considerations of

efficiency and as a matter of “practice within this district,” notwithstanding the

procedural defects described above.


         Although the Court has accepted the stipulation and entered an order for a

competency exam pursuant to section 4241, it is not is not likewise persuaded that

an examination pursuant to section 4242 to determine the existence of insanity at

the time of the offense is warranted at this time, and accordingly will not enter the

proposed order to that effect, for the reasons which follow.


         First, as described above, neither the requirements of the Rules of Criminal

Procedure, nor the requirements of section 4242 have been met here. These

procedures are put in place so that a criminal defendant is not subjected to an


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 Notably, such a motion is triggered “[u]pon the filing of a notice, as provided in
Rule 12.2 of the Federal Rules of Criminal Procedure,” which did not occur here.
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examination under section 4242 unless and until he has communicated in writing

his intention to pursue an insanity defense. In the instant matter, the defendant has

at best “hinted” at or “implied” such a defense, but, as conceded by his counsel,

may not in fact have a basis for such a defense, or in any event requires more time

in order to determine whether such a defense exists.


      Second, the defendant’s counsel has put his client’s competency to

understand the charges and/or to assist in his own defense at issue, and has

successfully moved the Court for a competency exam. Until it is established that

the defendant is indeed competent to understand the charges and to assist in his

own defense, the Court will not be able to complete his arraignment or hold his

detention hearing, and his counsel will likewise be unable to obtain his assistance

in determining whether an insanity defense is appropriate or to obtain his

agreement in the pursuit of such a defense. If it turns out that the defendant is

deemed incompetent, the prosecution of this case will essentially come to a halt

until such time as competency is restored. See 18 U.S.C. 4241(d). In other words,

the Court is not willing “to put the cart before the horse.”


      Third, the Court is not convinced that the same examiner should be asked to

perform both examinations under two different statutory sections, which require

different information and opinions. Notwithstanding considerations of expediency

and efficiency, the Court does not wish to blur the lines between these two distinct
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types of mental health examinations. If and when the defendant’s competency has

been determined in the affirmative, and if and when the defendant is able to

competently and knowingly instruct his counsel that an insanity defense should be

pursued, and if and when the procedural requirements (including the requisite

notice and the requisite motion) have been met, the Court at that time will

reconsider whether an examination to determine the existence of insanity at the

time of the offense, pursuant to section 4242, should be ordered.


      Accordingly, the request for entry of an order requiring an insanity defense

examination order 18 U.S.C. 4242 is DENIED.


SO ORDERED.


Dated: June 29, 2016                         s/Anthony P. Patti
                                             U.S. Magistrate Judge


I hereby certify that a copy of the foregoing document was sent to parties of record
on June 29, 2016, electronically and/or by U.S. Mail.

                                             s/Michael Williams
                                             Case Manager for the
                                             Honorable Anthony P. Patti
